DECLARATION OF EMILY LAMBERT



I, Emily Lambert, am an employee that is currently employed by John Pierce Law firm. I have been in my
current position since approximately August 10th 2021. I write this declaration under oath and under
penalties of perjury.

Our firm has a wide variety of cases in many different jurisdictions. We often work with local counsel in
distant locations and file pro hac vice motions to work with local counsel in state and federal courts. Mr.
Roots has been admitted pro hac vice in a couple cases in the U.S. District of D.C., and our firm has been
needing additional attorneys in the DC area. So late last year the firm decided to have Mr. Roger Roots
seek full membership in the bar of the U.S. District of DC.

On November 8th, 2022, I was informed that I needed to submit a updated Certificate of Good Standing
for Mr. Roots to the D.C. Admissions clerk. At this time, I was traveling out of state, and so I requested
our Lead Paralegal to order this document on behalf of Mr. Roots. He agreed to do so. See Exhibit A.

On November 10th, 2022, this employee sent me a document, that he represented to be the new
certificate of good standing that I had requested he order two days before. I did not examine this
document closely, and trusted that the document was what he represented it to be. See Exhibit B.

On November 14th, 2022, I received an email from the D.C. Clerk stating that the Certificate of Good
Standing that I had submitted had not been issued by the Rhode Island Supreme Court.

Upon receiving this email, I examined for the first time the certificate. I realized that instead of ordering
a new certificate, the paralegal had simply changed the date on the old one and sent it in (through me).
See Exhibit C. Neither Mr. Pierce nor Mr. Roots were consulted or made aware of the filing. Nor did
either Pierce nor Roots have an opportunity to review the submission beforehand.

Mr. Torres left the firm very shortly after this incident.

I take full responsibility for this action and the resulting issues that it caused.

Upon learning that this error had been made, I immediately ordered a new Certificate of Good Standing
myself, and I emailed the D.C. Clerk and profusely apologized, and explained that I had mistakenly sent
the wrong document and that Mr. Roots’ current Certificate of Good Standing was on the way and I
would send it when it arrived. I submitted this to the D.C. Admissions Clerk on November 22nd, 2022.
See Exhibit D.

Neither Mr. Roots nor Mr. Pierce were ever aware nor did they authorize the editing of that document,
or my submission of it to the D.C. Admissions office. I submitted this document on Mr. Roots behalf with
the belief that I was helping him, not causing him to face false accusations of forgery and fraud. Please
do not hesitate to contact me at (662) 665-1061 with any further questions or concerns relating to this
matter.

/s/ Emily Lambert
